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     Ambler, PA 19002
 2
     Telephone: (215) 540-8888
 3   Attorney of Record: Amy Bennecoff Ginsburg (AB0891)
     Attorney for Plaintiff
 4
                             UNITED STATES DISTRICT COURT
 5                                     FOR THE
                                DISTRICT OF NEW JERSEY
 6
                                        )
 7   KEITH FINN,                        )            Case No.:
                                        )
 8
                 Plaintiff,             )
 9
                                        )
                 v.                     )            COMPLAINT AND DEMAND FOR
10                                      )            JURY TRIAL
     CONVERGENT OUTSOURCING,            )
11   ALORICA f/k/a EGS FINANCIAL CARE )
     f/k/a NCO FINANCIAL SYSTEMS, INC., )            (Telephone Consumer Protection Act)
12   AND FIRST CONTACT, LLC,            )
                                        )
13               Defendants.            )
                                        )
14
                                        )
15
                                        COMPLAINT
16
            KEITH FINN (“Plaintiff”), by and through his counsel, Kimmel & Silverman, P.C.,
17
     alleges the following against CONVERGENT OUTSOURCING, ALORICA f/k/a EGS
18
     FINANCIAL CARE f/k/a NCO FINANCIAL SYSTEMS, INC., and FIRST CONTACT, LLC.
19
     (“Defendants”):
20

21

22                                     INTRODUCTION

23          1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

24   (“TCPA”).

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                                    PLAINTIFF’S COMPLAINT
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                                      JURISDICTION AND VENUE
 1
            2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.
 2

 3   Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).

 4          3.      Defendants each conduct business in the State of New Jersey and as such,

 5   personal jurisdiction is established.

 6          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 7

 8
                                                   PARTIES
 9
            5.      Plaintiff is a natural person residing in Vernon, New Jersey.
10
            6.      Plaintiff is a natural “person” as that term is defined by 47 U.S.C. § 153(39).
11
            7.      Defendant Convergent Outsourcing is a corporation with its offices located at
12
     800 S.W. 39th Street, Renton, Washington 98057.
13
            8.      Defendant Alorica f/ka EGS Financial Care f/k/a NCO Financial Systems, Inc. is
14
     a business with its headquarters at 5 Plaza Park, Suite 1100, Irvine, California 92614.
15

16          9.      Defendant First Contact, LLC (“First Contact”) is a business with offices at One

17   Progress Plaza, 200 Central Avenue, Floor 7, Saint Petersburg, Florida 33701.

18          10.     Defendants are each a “person” as that term is defined by 47 U.S.C. §153(39).

19          11.     Defendants were hired by Credit One Bank, N.A. to place and receive calls to its
20   credit card customers, including calls to collect money.
21
            12.     Defendants each acted through its agents, employees, officers, members,
22
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
23
     insurers.
24

25



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                                             PLAINTIFF’S COMPLAINT
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                                        FACTUAL ALLEGATIONS
 1
             13.     Plaintiff has a cellular telephone number.
 2

 3           14.     Plaintiff has only used this number as a cellular telephone number.

 4           15.     Beginning in and around November 2014, and continuing through at least April

 5   2015, Defendants called Plaintiff on his cellular telephone on a repetitive and continuous basis.

 6           16.     When contacting Plaintiff on his cellular telephone, Defendants used an
 7   automatic telephone dialing system and automatic and/or pre-recorded messages.
 8
             17.     Plaintiff knew Defendants’ calls were automated as when he answered calls there
 9
     would be a noticeable pause or delay with no caller on the line before a representative came on
10
     the call or the call terminated.
11
             18.     Defendant’s telephone calls were not made for “emergency purposes.”
12
             19.     Shortly after the calls started, Plaintiff told the Defendants to stop calling,
13
     thereby revoking any consent Defendants had, if any, or thought they may have had to call.
14
             20.     The representative acknowledged Defendants’ request to stop calling, but
15

16   Defendants continued to call, telling her calls would continue until she made a payment.

17           21.     Plaintiff found Respondents’ repeated calls stressful, frustrating, annoying, and

18   aggravating.

19                              DEFENDANT VIOLATED THE
                           TELEPHONE CONSUMER PROTECTION ACT
20
             22.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
21

22   at length herein.

23           23.     Defendant initiated multiple automated telephone calls to Plaintiff’s cellular

24   telephone using a prerecorded voice.

25



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                                         PLAINTIFF’S COMPLAINT
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            24.     Defendant initiated these automated calls to Plaintiff using an automatic
 1
     telephone dialing system.
 2

 3          25.     Defendant’s calls to Plaintiff were not made for emergency purposes.

 4          26.     After Defendants were told to stop calling, the Defendants knew or should have

 5   known they did not have consent to call and that any consent they may have thought they had

 6   was revoked.
 7          27.     Defendants’ acts as described above were done with malicious, intentional,
 8
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
 9
     purpose of harassing Plaintiff.
10
            28.     The acts and/or omissions of Defendants were done unfairly, unlawfully,
11
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
12
     defense, legal justification or legal excuse.
13
            29.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
14
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
15

16   damages.

17

18          WHEREFORE, Plaintiff, KEITH FINN, respectfully prays for judgment as follows:

19                  a.      All actual damages suffered pursuant to 47 U.S.C. §227(b)(3)(A);
20                  b.      Statutory damages of $500.00 per violative telephone call pursuant to 47
21
                            U.S.C. §227(b)(3)(B);
22
                    c.      Treble damages of $1,500 per violative telephone call pursuant to 47
23
                            U.S.C. §227(b)(3);
24
                    d.      Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
25



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                                          PLAINTIFF’S COMPLAINT
       Case 2:18-cv-15685-KM-JBC Document 1 Filed 11/05/18 Page 5 of 5 PageID: 5



                  e.     Any other relief deemed appropriate by this Honorable Court.
 1

 2

 3                                DEMAND FOR JURY TRIAL

 4         PLEASE TAKE NOTICE that Plaintiff, KEITH FINN, demands a jury trial in this case.

 5

 6                      CERTIFICATION PURSUANT TO L.CIV.R.11.2
 7         I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is
 8
     subject to another action against Credit One Bank, N.A. in private arbitration before the
 9
     American Arbitration Association (“AAA”) (Case No. 01-17-0006-5470).
10

11
                                               Respectfully submitted,
12

13     Dated: 11/5/18                          By: /s/ Amy L. Bennecoff Ginsburg
                                               Amy L. Bennecoff Ginsburg, Esquire
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                                               Kimmel & Silverman, P.C.
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                                     PLAINTIFF’S COMPLAINT
